Case 2:22-cv-00302 Document 1 Filed 07/22/22 Page 1 of 5 PageID #: 1




                                                          2:22-cv-00302
Case 2:22-cv-00302 Document 1 Filed 07/22/22 Page 2 of 5 PageID #: 2
Case 2:22-cv-00302 Document 1 Filed 07/22/22 Page 3 of 5 PageID #: 3
Case 2:22-cv-00302 Document 1 Filed 07/22/22 Page 4 of 5 PageID #: 4
Case 2:22-cv-00302 Document 1 Filed 07/22/22 Page 5 of 5 PageID #: 5




                                                          2:22-cv-00302
